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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )             Crim. Action No. 17-0201-01 (ABJ)
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)


                                          ORDER

      To ensure the proceedings in this case are conducted in a fair and orderly manner, it is

hereby ORDERED that:


I.    Trial of this matter will begin promptly at 9:30 am, Monday through Friday, unless the
      Court announces a different schedule for any or all Fridays. A one-hour lunch recess will
      be taken at approximately 12:30 pm or 1:00 pm. The Court generally takes 15-minute
      mid-morning and mid-afternoon recesses. All participants in the trial must be at counsel
      table when the proceedings are scheduled to commence. The doors to Courtroom 3 will
      open at 9:00 am.

II.   Courtroom 3

      A. Reserved Seating

             1. Only government counsel, defense counsel, and their authorized employees
                may sit in the well of Courtroom 3.

             2. The first row of the right side of the courtroom (facing the bench) will be
                reserved for government counsel and personnel and any government witnesses
                who have been authorized by the Court to observe trial.

             3. The first row of the left side of the courtroom (facing the bench) will be
                reserved for members and representatives of the defense team and defendant’s
                family members.

             4. The second row of the right side of the courtroom (facing the bench) will be
                reserved for court staff and others as designated by the Court.
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              5. The second row of the left side of the courtroom (facing the bench) will be
                 reserved for members of the media. Members of the media must display
                 credentials if requested by court staff or the United States Marshals Service.

              6. Up to three sketch artists may sit in a designated area to be identified by the
                 Court.

              7. Members of the general public and the media may occupy all remaining rows
                 of seats. Seating for the general public will be on a first-come, first-served
                 basis at the start of each trial day and after each recess.

              8. Any member of the general public or media who desires to view the
                 proceedings from Courtroom 3 must be seated before the proceedings are
                 scheduled to commence, and, except in case of emergencies, may not exit the
                 courtroom until there is a recess or a break in the proceedings. Any available
                 seats in the press row that are not filled ten minutes prior to the
                 commencement of the proceedings may be offered to other attendees. No
                 member of the general public or media will be permitted to enter the
                 courtroom while the proceedings are in progress without permission of the
                 Court or a Court Security Officer.

III.   Electronic Devices

       A. Consistent with the Media Policy of the U.S. Courts of the D.C. Circuit and this
          Court’s policies regarding the use of cameras, cellphones, laptops and other electronic
          devices, all phones and electronic devices must be completely turned off upon
          entering the courtroom, and they must remain off and stored out of sight.

       B. Photographs and video and audio recordings or transmissions of court
          proceedings are strictly prohibited. Any violation of this prohibition may result in
          the imposition of contempt sanctions against the violator individually and, if
          attending in the capacity of an employee or agent, against the employer or principal.

       C. Attorneys representing the parties in this matter may use their laptops and electronic
          devices as necessary and authorized by the Court during the proceedings.

       D. No conversations or gestures that would disrupt the proceedings or distract jurors or
          witnesses are permitted.

IV.    Remote Locations. The Court has arranged for a live audio/video feed of the proceedings
       to be shown at two remote locations within the courthouse.

       A. Overflow Courtroom. Members of the general public and the media are permitted to
          access the designated “overflow courtroom” to view a live audio/video feed of the
          proceedings in Courtroom 3. Signs will be posted indicating the location of the
          overflow courtroom.



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             1. The live audio/video feed from Courtroom 3 will be fixed on the witnesses,
                counsel, and the Court, with no focus on the jury. Exhibits admitted into
                evidence and published to the jury will be displayed when technically possible
                to do so.

             2. No cameras, cellular telephones, or video recording devices may be used in
                the overflow courtroom. All electronic devices must be turned off and stored.

             3. Photographs and video and audio recordings or transmissions of court
                proceedings are strictly prohibited. Any violation of this prohibition may
                result in the imposition of contempt sanctions against the violator individually
                and, if attending in the capacity of an employee or agent, against the employer
                or principal.

             4. Seating in the overflow courtroom will be on a first-come, first-served basis
                until all seating capacity is filled.

      B. Media Room (1206). Members of the media may view a live audio/video feed from
         Courtroom 3 in the Media Room located in room 1206 on the first floor of the
         courthouse.

             1. The live audio/video feed from Courtroom 3 will be fixed on witnesses,
                counsel, and the Court, with no focus on the jury. Exhibits admitted into
                evidence and published to the jury will be displayed when technically possible
                to do so.

             2. Members of the media may use laptops and tablets in the Media Room.
                However, photographs and video and audio recordings or transmissions of
                court proceedings are strictly prohibited. There shall be no broadcasting of
                any kind from the Media Room. Any violation of this prohibition may result
                in the banning of all laptops and electronic devices from the Media Room, the
                closing of the Media Room, and the imposition of contempt sanctions against
                the violator individually and, if attending in the capacity of an employee or
                agent, against the employer or principal.

             3. Members of the media must obtain a Court press pass in order to use the
                Media Room and must comply with the Media Room Rules of Use, which
                will be posted in the Media Room and the Court’s website.

V.    Any member of the public or media who wishes to view the proceedings from
      Courtroom 3, the designated overflow courtroom, or the Media Room must comply with
      any requests made by any Court Security Officer, the United States Marshals Service, or
      Court staff.

VI.   If at any time the proceedings in Courtroom 3 are sealed or closed to the public, the video
      feeds to the overflow courtroom and the Media Room will be turned off. No sealed
      exhibits will be displayed.


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VII.    Sketch artists preparing drawings of court proceedings are prohibited from drawing
        detailed sketches of any member of the jury. Silhouettes with no distinguishing features
        may be produced.

VIII.   Copies of exhibits admitted in evidence will be made available to the public by the Office
        of Special Counsel.

IX.     Juror Contact and Security

        A. Any attempt to contact or interact with jurors, to obtain the locations of their
           residences or job sites, or to otherwise ascertain their identities in any way is strictly
           prohibited.

        B. Conversations, interviews, and written communications with prospective jurors
           before the completion of voir dire, and with selected jurors, including alternate jurors,
           before the Court has discharged the jury at the conclusion of the trial (before a verdict
           is reached) are prohibited.

        C. After a verdict has been rendered and the Court has discharged the jury, any juror
           may consent to talk with anyone he or she wishes concerning the case. However, a
           juror is not obligated to do so, and there must not be further attempts to talk to any
           juror who has indicated a desire not to have such discussions.

X.      Media Interviews. Interviews of trial participants inside the courthouse are prohibited,
        and the Court’s order of November 8, 2017 [Dkt. # 38], which applies equally to all
        parties, will remain in effect during trial.

XI.     Any violation of any portion of this order may result in the imposition of contempt
        sanctions against the violator individually and, if attending in the capacity of an employee
        or agent, against the employer or principal.

SO ORDERED.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: September 6, 2018




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